     Case 11-41286               Doc 21   Filed 01/17/12 Entered 01/19/12 23:59:08      Desc Imaged
                                          Certificate of Notice Page 1 of 5
B18 (Official Form 18) (12/07)

                                     United States Bankruptcy Court
                                             Northern District of Illinois
                                                  Case No. 11−41286
                                                      Chapter 7

In re: Debtor (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade,
and address):
   Suzy Shattuck
   12905 Archer Avenue
   Lemont, IL 60439
Social Security / Individual Taxpayer ID No.:
   xxx−xx−9400
Employer Tax ID / Other nos.:



                                           DISCHARGE OF DEBTOR

      It appearing that the debtor is entitled to a discharge, IT IS ORDERED: The debtor is
granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).




                                                           FOR THE COURT


Dated: January 17, 2012                                    Kenneth S. Gardner, Clerk
                                                           United States Bankruptcy Court




                     SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
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                                         Certificate of Notice Page 2 of 5
B18 (Official Form 18) (12/07) − Cont.


                                  EXPLANATION OF BANKRUPTCY DISCHARGE
                                           IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor.[In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts that are Not Discharged.

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes (in a case filed on or after October 17, 2005);

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts; and

      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans (in a case filed on or after October 17,
      2005).



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
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                                       United States Bankruptcy Court
                                       Northern District of Illinois
In re:                                                                                   Case No. 11-41286-SPS
Suzy Shattuck                                                                            Chapter 7
         Debtor
                                         CERTIFICATE OF NOTICE
District/off: 0752-1           User: lhuley                  Page 1 of 3                   Date Rcvd: Jan 17, 2012
                               Form ID: b18                  Total Noticed: 51


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jan 19, 2012.
db            +Suzy Shattuck,    12905 Archer Avenue,    Lemont, IL 60439-7432
17908594      +Adventist Hinsdale Hospital,     120 North Oak Street,     Hinsdale, IL 60521-3890
17908780      +Blue Chip Financial,    728 B Ogden Ave,     Downers Grove, IL 60515-2949
17908608      +CNA Commercial Property and Casualty,     Attn: Bankruptcy,     333 S Wabash Ave,
                Chicago, IL 60604-4153
17908776      +Calvary Portfolio Services,     Attn: Bankruptcy Dept,     P O Box 1017,    Hawthorne, NY 10532-7504
17908782       Capittal Management Maintenance,     P O Box 1315,    Charlotte, NC 28201-1315
17908602      +Chase Bank,    1132 State Street,    Lemont, IL 60439-4292
17908784      +Client Services Inc,    3451 Harry Truman Blvd,     Saint Charles, MO 63301-9816
17908610      +Connelly, Roberts and McGiven LLC,     One North Franklin St,     Suite 1200,
                Chicago, IL 60606-3447
17908611       Dependon Collection Service,     120 W 22nd Street,    Suite 360,    Oak Brook, IL 60523-4070
17908785       FMS Inc,    P O Box 707600,    Tulsa, OK 74170-7600
17908467       Illinois Dept of Revenue,     P O Box 19044,    Springfield, IL 62794-9044
17908591      +Intercounty Judicial Sales,     120 W Madison Street,     Chicago, IL 60602-4103
17908588      +John and Susan Antonopoulis,     15419 E 127th Street Unit 1,     Lemont, IL 60439-6494
17908993       Kenneth M Shattuck,    12905 Archer Ave,     Lemont, IL 60439-7432
17908595      +Kevin B Wilson Law Offices,     P O Box 24103,    Chattanooga, TN 37422-4103
17908777      +Kohl’s Attn: Recovery Dept,     P O Box 3120,    Milwaukee, WI 53201-3120
17908779       MB Financial Bank,    1151 State Street,     Lemont, IL 60439-4200
17908597      +Merchants Credit Guide Co,     233 W Jackson Blvd., Suite 400,     Chicago, IL 60606-6958
17908607      +NCO Financial Systems Inc,     P O Box 15630,    Dept 72,    Wilmington, DE 19850-5630
17908605      +NCO Financial Systems Inc,     507 Prudential Rd,    Horsham, PA 19044-2368
17908598      +North American Credit Services,     2810 Walker Rd., Suite 100,     Chattanooga, TV 37421-1082
17908781      +Orange Lake Capital Management,     8505 W Irlo Bronson Memorial Hwy,      Kissimmee. FL 34747-8217
17908592      +Pierce and Associates,    1 North Dearborn Street,     Suite 1300,     Chicago, IL 60602-4373
17908992      +Preferred Mortgage Planners Inc,     15419 E 127th Street,     Unit 5,    Lemont, IL 60439-6494
17908778      +Progressive Financial Services Inc,     PO Box 22083,     Tempe, AZ 85285-2083
17908589       Summer Bay Resorts,    P O Box 850001,    Orlando, FL 32885-0889
17908989      +The CBE Group Inc,    1309 Technology Parkway,     Cedar Falls, IA 50613-6976
17908988       The CBE Group Inc,    P O Box 2547,    Waterloo, IA 50704-2547
17908470      +Unites States Attorney,     Northern District of Illinois,     219 S Dearborn St., 5th Floor,
                Chicago, IL 60604-2029
17908593       Wells Fargo Home Mortgage,     P O Box 5296,    Carol Stream, IL 60197-5296

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr           +EDI: QGAPALOIAN.COM Jan 18 2012 02:38:00       Gus A Paloian,    Seyfarth, Shaw, Et Al,
               131 South Dearborn Street,    Suite 2400,    Chicago, IL 60603-5863
17908599     +E-mail/Text: ACF-EBN@acf-inc.com Jan 18 2012 06:43:30        Atlantic Credit and Finance Inc,
               2727 Franklin Rd SW,    Roanoke, VA 24014-1011
17908603     +EDI: CITICORP.COM Jan 18 2012 02:38:00       Childrens Place/ Citibank,
               Attn: Centralized Recovery,    P O Box 20363,     Kansas City, MO 64195-0363
17908612      EDI: RMSC.COM Jan 18 2012 02:38:00       GE Money Bank/Meijer,    Attn: Bankruptcy Dept,
               P O Box 960061,    Orlando, FL 32896-0090
17908775     +EDI: RMSC.COM Jan 18 2012 02:38:00       GEMB/Old Navy,    Attn: Bankruptcy,    P O Box 103104,
               Roswell, GA 30076-9104
17908469      EDI: IRS.COM Jan 18 2012 02:38:00       Dept of the Treasury,    Internal Revenue Service,
               Cincinnati, OH 45999-0025
17908471     +EDI: IRS.COM Jan 18 2012 02:38:00       Internal Revenue Service,    2970 Market Street,
               Mail Stop 5-Q30.133,    Philadelphia, PA 19104-5002
17908468      EDI: IRS.COM Jan 18 2012 02:38:00       Internal Revenue Service,    P O Box 7346,
               Philadelphia, PA 19101-7346
17908609     +E-mail/Text: darren@kazlowfields.com Jan 18 2012 07:22:15        Kazlow and Fields LLC,
               11605 Crossroads Circle,    Suite J,    Baltimore, MD 21220-2865
17908604     +EDI: LTDFINANCIAL.COM Jan 18 2012 02:38:00        Ltd. Financial Services,    7322 Southwest Freeway,
               Suite 1600,    Houston, TX 77074-2053
17908774      EDI: PRA.COM Jan 18 2012 02:38:00       Portfolio Recovery Associates,     Attn: Bankruptcy,
               P O Box 12914,    Norfolk, VA 23541
17908613      EDI: PRA.COM Jan 18 2012 02:38:00       Portfolio Recovery Associates,     Attn: Bankruptcy,
               P O Box 41067,    Norfolk, VA 23541
17908783     +EDI: WTRRNBANK.COM Jan 18 2012 02:38:00       Target National Bank,    3701 Wayzata Blvd,
               Mail Stop 2 C-T,    Minneapolis, MN 55416-3401
17908986     +EDI: WTRRNBANK.COM Jan 18 2012 02:38:00       Target National Bank,    P O Box 673,
               Minneapolis, MN 55440-0673
17908987     +EDI: CITICORP.COM Jan 18 2012 02:38:00       The Home Depot/Citibank,
               Attn: Centralized Bankruptcy,     P O Box 20507,    Kansas City, MO 64195-0507
17908991      EDI: WFNNB.COM Jan 18 2012 02:38:00       WFNNB/New York and Co,    Attn: Recovery Dept,
               P O Box 182124,    Columbus, OH 43218-2124
17908990     +EDI: WFNNB.COM Jan 18 2012 02:38:00       WFNNB/New York and Co,    220 W Schrock Rd,
               Westerville, OH 43081-2873
17908590     +EDI: WFFC.COM Jan 18 2012 02:38:00       Wells Fargo Home Mortgage,    3476 Stateview Blvd,
               Mac: X7801-013,    Fort Mill, SC 29715-7203
17908600     +E-mail/Text: BKRMailOps@weltman.com Jan 18 2012 07:33:11        Weltman Weinberg and Reis Co,
               323 W Lakeside Ave,    Suite 200,    Cleveland, OH 44113-1099
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                                       Form ID: b18                       Total Noticed: 51


 Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
 (continued)
 17908601     +E-mail/Text: BKRMailOps@weltman.com Jan 18 2012 07:33:11     Weltman Weinberg and Reis Co LPA,
                180 N LaSalle Street, Suite 2400,   Chicago, IL 60601-2704
                                                                                             TOTAL: 20

               ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
 17908596*       +Adventist Hinsdale Hospital,   120 North Oak Street,   Hinsdale, IL 60521-3890
 17908606*       +NCO Financial Systems Inc,   507 Prudential Rd,   Horsham, PA 19044-2368
                                                                                                                     TOTALS: 0, * 2, ## 0

 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Jan 19, 2012                                       Signature:
        Case 11-41286      Doc 21    Filed 01/17/12 Entered 01/19/12 23:59:08           Desc Imaged
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District/off: 0752-1         User: lhuley                Page 3 of 3                  Date Rcvd: Jan 17, 2012
                             Form ID: b18                Total Noticed: 51


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on January 17, 2012 at the address(es) listed below:
              Andrew J Nelson   on behalf of Creditor WELLS FARGO BANK anelson@atty-pierce.com,
               northerndistrict@atty-pierce.com
              Dana N O’Brien   on behalf of Creditor Wells Fargo Bank, N.A. dobrien@atty-pierce.com,
               northerndistrict@atty-pierce.com
              Gus A Paloian   gpaloian@seyfarth.com, gpaloian@ecf.epiqsystems.com
              Patrick S Layng   USTPRegion11.ES.ECF@usdoj.gov
                                                                                            TOTAL: 4
